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Attorneys for Defendants
ABNER GAURINO, AURORA GAURINO
and ABIGAIL GAURINO

               IN THE UNITED STATES DISTRICT COURT

                    FOR THE DISTRICT OF HAWAI‘I

ATOOI ALOHA, LLC, an[sic] Nevada )         Civil No. 16-00347 JMS - RLP
Limited Liability Company, CRAIG B. )
STANLEY, as TRUSTEE for THE         )      DEFENDANTS ABNER
EDMON KELLER AND CLEAVETTE )               GAURINO, AURORA
MAE STANLEY FAMILY TRUST;           )      GAURINO AND ABIGAIL
CRAIG B. STANLEY, individually;     )      GAURINO’S STATEMENT OF
MILLICENT ANDRADE, individually, )         NO OPPOSITION TO
                                    )      DEFENDANT APT-320, LLC’S
                   Plaintiffs,      )      MOTION FOR SUMMARY
                                    )      JUDGMENT AND FOR
            vs.                     )      INTERLOCUTORY DECREE
                                    )      OF FORECLOSURE [164]
ABNER GAURINO, AURORA               )      FILED 10/25/17; CERTIFICATE
GAURINO, ABIGAIL GAURINO,           )      OF SERVICE
INVESTORS FUNDING                   )
CORPORATION, as Trustee for an      )
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unrecorded Loan Participation         )    Hearing: January 16, 2018
Agreement dated June 30, 2014;        )    Time: 10:00 am
APT-320, LLC, a Hawai‘i Limited       )    Chief Judge: Michael J. Seabright
Liability Company, CRISTETA C.        )
OWAN, an individual; ROMMEL           )    Trial Date: March 27, 2018
GUZMAN; FIDELITY NATIONAL             )
TITLE & ESCROW OF HAWAI‘I and         )
DOES 1-100 Inclusive,                 )
                                      )
                  Defendants.         )
                                      )
APT-320, LLC, a Hawaii Limited        )
Liability Company, Third-Party        )
Plaintiff,                            )
                                      )
        vs.                           )
                                      )
APARTMENT OWNERS OF                   )
DIAMOND HEAD SANDS,                   )
                                      )
        Third-Party Defendant.        )
                                      )




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                 DEFENDANTS ABNER GAURINO,
           AURORA GAURINO AND ABIGAIL GAURINO’S
        STATEMENT OF NO OPPOSITION TO DEFENDANT
   APT-320, LLC'S MOTION FOR SUMMARY JUDGMENT AND FOR
 INTERLOCUTORY DECREE OF FORECLOSURE [164] FILED 10/25/17

      Come now Defendants, Abner Gaurino, Aurora Gaurino and Abigail
Gaurino, by and through their attorneys, John R. Remis, Jr. and Robert D. Eheler,
Jr., and hereby submit their Statement of No Opposition to Defendant Apt-320,
LLC’s Motion for Summary Judgment and for Interlocutory Decree of Foreclosure
[164] Filed 10/25/17.
      DATED: Honolulu, Hawai‘i`, December 21, 2017.




                                              /S/ JOHN R. REMIS, JR.
                                              JOHN R. REMIS, JR.
                                              ROBERT D. EHELER, JR.
                                              Attorneys for Gaurino Defendants




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                          CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a copy of the foregoing Statement of No
Opposition to Defendant Apt-320 LLC’s Motion for Summary Judgment and
Interlocutory Decree of Foreclosure was duly served on the parties below via
CM/ECF.
TO:

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ATOOI ALOHA, LLC; CRAIG STANLEY,
as Trustee for The Edmon Keller and
Cleavette Mae Stanley Family Trust;
CRAIG B. STANLEY, Individually;
and MILLICENT ANDRADE, Individually


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      DATED: Honolulu, Hawai‘i , December 21, 2017.


                                   /s/ John R. Remis, Jr.
                                   JOHN R. REMIS, JR.
                                   ROBERT D. EHELER, JR.
                                   Attorneys for Gaurino Defendants




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